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IN THE UNITED sTATEs DlsrRICT COURT , 7 _ /
FOR THE WEerRN DISTRICT oF TENNEssEE ' 1
WESTERN DlvlsloN {- . y __ F r
UNITED sTArEs oF AMERICA
V.
cHRIs ANTHONY PARI<s No. 04cr20386-D

 

ORDER CON'HNUING ARRAIGNMENT AND
SPECIFYING PERIOD OF EXCLUDABLE DELAY UNDER THE SPEEDY TRIAL ACT

 

The defendant, by and through his appointed counsel Pat Brown has this day notified the Court that
the defendant, upon order of the court, had previously been transferred to a suitable hospital or facility
selected by the Court of pretrial examination pursuant to 18 U.S.C. § 4241 to determine defendants mental
competency to stand trial and his sanity at the time of the offense, and had asked the Court to set the matter
for a competency hearing. The court conducted that hearing and issued a report and recommendation
finding the defendant competent to stand trial. Defense counsel asked the Court to continue the
arraignment for an additional two weeks to allow defense counsel to review the report and recommendation
The arraignment should be continued while defendants competency is pending and that the ends of justice
served by such a continuance outweigh the best interest of the public and the defendant in a speedy trial.

lt is therefore ORDERED that pursuant tolS U.S.C. §3161(h)(1)(A} the time period of &2~74615_

through \j;/////a$ be excluded from the time its imposed by the Speedy Trial

Act for trial of this case.

This /)~'l dayof;'p(\OY'\\ ""`-\ ,200.
t/k-'~’~l

UNITED STATES MA ISTRATE ]UDGE

 

 

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Notice of Distribution

This notice confirms a copy oi` the document docketed as number 44 in
case 2:04-CR-203 86 Was distributed by faX, mail, or direct printing on
April 29, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

